                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


DAVID W. CURRY                                 Case No.:
2230 Highway 33
West Bend, WI 53090,                          State Court Case No.:
                                              2018CV000181
and

JUDITH CURRY
2230 Highway 33
West Bend, WI 53090,

                          Plaintiffs,

v.

NORTHERN TOOL & EQUIPMENT CO.,                NOTICE OF REMOVAL
INC.
a foreign corporation
2800 Southcross Drive West
Burnsville, MN 55306

and

ABC INSURANCE COMPANY,

and

NORTHERN TOOL & EQUIPMENT CO.
MEDICAL PLAN
a foreign health plan
2800 Southcross Drive West
Burnsville, MN 55306,

                            Defendants.


TO:   THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
      EASTERN DISTRICT OF WISCONSIN:




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       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441,

Defendants Northern Tool & Equipment Company, Inc. (“NTE”) and Northern Tool &

Equipment Co. Medical Plan (the “NTE Medical Plan”) (collectively, the “NTE

Defendants”), with a full reservation of any and all rights, claims, and defenses of any

nature whatsoever, remove this action to the U.S. District Court for the Eastern District of

Wisconsin from the State of Wisconsin Circuit Court, Washington County. Removal is

proper because, as demonstrated below, this Court has original jurisdiction over this

matter, and the NTE Defendants’ removal is otherwise proper and timely.

                                   Procedural History

       1.      On March 19, 2018, Plaintiffs David W. Curry and Judith Curry

(collectively, “Plaintiffs”) filed a Summons and Complaint in a lawsuit in Washington

County Circuit Court captioned David W. Curry and Judith Curry v. Northern Tool &

Equipment Company, Inc., ABC Insurance Company, and Northern Tool & Equipment

Co. Medical Plan, Case No. 2018CV000181 (the “Wisconsin State Court Proceeding”).

       2.      The NTE Defendants were served with the Summons and Complaint on

March 27, 2018.     True and correct copies of the Summons and Complaint in the

Wisconsin State Court Proceeding are attached hereto as Exhibit A. The documents in

Exhibit A constitute all “process, pleadings, or orders” within the meaning of 28 U.S.C.

§ 1446.

       3.      Plaintiffs are Wisconsin residents.    (Compl. ¶¶ 1-2.)     Mr. Curry was

employed by NTE. (Id. ¶ 5.)




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       4.      NTE is a Minnesota company with its home office and principal place of

business located in Minnesota. (Id. ¶ 3.)

       5.      Defendant ABC Insurance Company is a fictitious name, used pursuant to

Wis. Stat. § 807.12, to identify a defendant with an unknown name, address, registered

agent, status of incorporation, and location of incorporation. (Id. ¶ 4.)

       6.      Based on the allegations in the Complaint, the NTE Medical Plan1 is a

foreign health plan with its home office and principal place of business located in

Minnesota. (Id. ¶ 5.)

       7.      Plaintiffs allege in the Complaint that on May 13, 2017, Mr. Curry was

using a product called the “Ultra-Tow Aluminum Bi-Fold Pet Loading Ramp” (the

“Product”) to load supplies into his recreational vehicle, and he was walking on the ramp

when the support brace on the ramp failed (the “Incident”). (Compl. ¶¶ 7 and 11.) As a

result of the Incident, Mr. Curry claims he was injured, including an avulsion fracture of

the inferior pole of his patella.      (Id. ¶ 12.)   Plaintiffs allege NTE was both the

manufacturer and seller of the Product to Plaintiffs. (Id. ¶ 7.)

       8.      The Complaint states that as a result of the Incident, Mr. Curry suffered

damages including “extensive” medical care and treatment, surgery, related care and



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   NTE’s Notice of Removal is based on the facts as set forth in the Complaint, including
the identities of the named-parties. Although the NTE Medical Plan is a named-
Defendant, and the undersigned counsel appears on its behalf for purposes of consent to
removal, NTE reserves all rights and defenses with respect to whether the NTE Medical
Plan is a properly named party. NTE expects dismissal, via stipulation or motion, of the
NTE Medical Plan may be proper on the grounds that the named-Defendant is a non-
existent entity.


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treatment of his injuries, medication for care and treatment of his pain, “severe and

permanent mental anguish and suffering,” “severe and permanent embarrassment and

emotional distress” resulting from the Incident, future and permanent injury to his knee

including probable arthritic changes, future pain, loss of range and motion, and future and

permanent impairment of his ability to enjoy life. (Id. ¶¶ 14 and 15.)

       9.       The Complaint states that as a result of the Incident, Mrs. Curry suffered

additional damages including loss of aid, comfort, consortium, society, and

companionship of her husband, expenses for the medical care and treatment of her

husband, missed work to attend medical appointments for the care and treatment of her

husband, including extensive nursing care and services. (Id. ¶ 31-32.) Plaintiffs also

seek collection of their reasonable attorneys’ fees and reimbursement of costs and

disbursements. (Id. p. 9.)

       10.      The total amount in controversy in this case exceeds $75,000.00.        As

described in detail above, the damages claimed by Mr. Curry are wide-ranging, including

“extensive” physical and “permanent” emotional damages. Plaintiffs also seek numerous

categories of damages related to Mrs. Curry, including loss of aid and consortium-related

damages, reimbursement for rendering “extensive” nursing care and services to

Mr. Curry, reimbursement for losses related to Mrs. Curry missing work to attend

medical appointments, and reimbursement of expenses for medical care and treatment of

Mr. Curry. Plaintiffs have not expressly disclaimed individual damages over $75,000.

See Oshana v. Coca-Cola Co., 472 F.3d 506, 511 (7th Cir. 2006) (binding disclaimers of




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damages over $75,000 have been long-approved as a way of staying out of federal court,

and stating that if plaintiff really wanted to prevent removal, it should have stipulated to

damages not exceeding the $75,000 jurisdictional limit). The total amount of alleged

damages claimed by both Mr. Curry and Mrs. Curry can be reasonably calculated in an

amount well in excess of $75,000.

                                    Applicable Statutes

       11.      This Court has original jurisdiction over this matter under 28 U.S.C. § 1332

because it is a civil action between citizens of different states in which the matter in

controversy exceeds $75,000, exclusive of interest and costs, and which may be removed

to this Court under 28 U.S.C. § 1441.

       12.      The amount in controversy in this matter exceeds $75,000. See supra ¶¶ 8-

9.

       13.      Plaintiffs also seek recovery of their reasonable attorneys’ fees, which are

likely to be extensive in this matter. Plaintiffs have asserted five causes of action against

three defendants—one of which is a fictitious defendant yet to be identified and the other

appears to be a non-existent entity—including Strict Liability, Breach of Warranty,

Negligence, Res Ipsa Loquitur, and Loss of Spousal Consortium. (Compl. ¶¶ 17-32.) At a

minimum, this case will require discovery and judicial determination concerning issues

including how the Product was designed and manufactured, what entity manufactured the

Product, Mr. Curry’s knowledge of proper use of the Product, whether Mr. Curry was

contributorily negligent in his use of the Product, whether the warnings and instructions




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accompanying the Product were sufficient to put Mr. Curry on notice that his use of the

Product was unreasonable or dangerous, what warranties applied to NTE’s sale of the

product, whether those warranties were breached, what health plan Mr. Curry was

enrolled in at the time of the Incident, if any, and whether any health plan has a

subrogation obligation or right in this litigation.       This litigation will also require

discovery and a judicial determination concerning Mrs. Curry’s claimed damages,

including whether any damages exist and the amount of such damages. It is more likely

than not that the reasonable attorneys’ fees in this matter will exceed $75,000.

       14.      Considering Plaintiffs’ claimed damages and potential attorneys’ fees, the

total amount in controversy in this action will exceed $75,000, and removal is therefore

proper. Oshana, 472 F.3d at 512 (in determining whether damages could plausibly

exceed $75,000, a district court may also consider a potential award of attorneys’ fees,

compensatory damages, and attorneys’ fees up to the time of removal); Gardynski-

Leshuck v. Ford Motor Co., 142 F.3d 955, 958 (7th Cir. 1998) (“Legal fees may count

toward the amount in controversy when the prevailing party is entitled to recover them as

part of damages.”); Unified Catholic Schs. Of Beaver Dam Educ. Ass’n v. Universal Card

Servs. Corp., 34 F. Supp. 2d 714, 720 n.4 (E.D. Wis. 1999) (where a party has a right

based on contract, statute or other authority to an award of attorneys’ fees if it prevails in

litigation, “a reasonable estimate of those fees may be included in determining whether

the jurisdictional minimum is satisfied”).




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        15.      28 U.S.C. § 1446(b)(1) states that the “notice of removal of a civil action or

proceeding shall be filed within 30 days after the receipt by the defendant, through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief

upon which such action or proceeding is based….” The Complaint is an initial pleading

setting forth the claim for relief upon which this action or proceeding is based. This

notice of removal is filed within 30 days after receipt of the Complaint by the NTE

Defendants on March 27, 2018.

        16.      The Complaint also provides proper notice of a claim for relief. It states

Plaintiffs have incurred substantial damages related to five causes of action, claims

entitlement to reasonable attorneys’ fees, and suggests that the parties’ citizenship

appears to be diverse.

        17.      As such, the Complaint is appropriately the subject of removal pursuant to

28 U.S.C. §§ 1441 and 1446.

                                    Diversity of Citizenship

        18.      According to the Complaint, Plaintiffs are citizens and residents of

Wisconsin. (Compl. ¶¶ 1 and 2.)

        19.      According to the Complaint, Northern Tool & Equipment Co., Inc. is a

foreign corporation with its home office and principal place of business in Minnesota.

(Id. ¶ 3.)

        20.      According to the Complaint, ABC Insurance Company is a fictitious name

for an insurance policy issued by an insurance company to NTE. (Id. ¶ 4.) 28 U.S.C.




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§ 1441(b)(1) states: “In determining whether a civil action is removable on the basis of

jurisdiction under section 1332(a) of this title, the citizenship of defendants sued under

fictitious names shall be disregarded.”

       21.      According to the Complaint, Northern Tool & Equipment Co. Medical Plan

is a foreign health plan with its home office and principal place of business in Minnesota.

(Compl. ¶ 5.)

                                 Amount in Controversy

       22.      In the Complaint, Plaintiffs claim Mr. Curry suffered extensive and severe

medical expenses, along with a permanent arthritic knee condition and permanent loss of

range of motion, with no agreement to limit damages to the $75,000 jurisdictional

amount. Thus, the amount in controversy between the parties exceeds $75,000, exclusive

of interest and costs.

       23.      Both NTE Defendants consent to removal. Therefore, all defendants who

have been properly joined and served join in and consent to removal of the action under

28 U.S.C. § 1446(b)(2)(A),

       24.      Under 28 U.S.C. §§ 1332 and 1441, this proceeding is therefore properly

removed to this Court, the U.S. District Court for the Eastern District of Wisconsin, as

the district embracing the place where the Wisconsin State Court Proceeding is pending.

                            Concurrent Notice to State Court

       25.      The NTE Defendants are concurrently filing a Notice of Filing with the

Clerk of the State of Wisconsin, Circuit Court, Washington County, pursuant to




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28 U.S.C. § 1446(d). A copy of this notice will also be served on Plaintiffs’ counsel. A

true and correct copy of this notification is attached as Exhibit B.

                                Reservation of All Defenses

       26.      Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of any of the NTE Defendants’ rights to assert any defenses including

without limitation, the defenses of lack of personal jurisdiction, failure to state a claim,

failure to join an indispensable party or parties, or any other procedural or substantive

defense available under state or federal law.

       27.      If any question arises as to the propriety of the removal of this action, the

NTE Defendants request the opportunity to brief any disputed issues and to present oral

argument in support of the position that this case is properly removable.

       WHEREFORE, the NTE Defendants respectfully notify this Court that, pursuant

to 28 U.S.C. §§ 1332 and 1441, this Proceeding has been removed to the U.S. District

Court for the Eastern District of Wisconsin.



                                           Respectfully submitted,

                                           FAFINSKI MARK & JOHNSON, P.A.



Dated: April 18, 2018                      s/ Patrick J. Rooney
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                                           Andrew T. James (Wis. Bar No. 1097389)
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                           Northern Tool & Equipment Co. Medical
                           Plan




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